     Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 1 of 22 PageID: 1



                         IN THE UNITED STATES DISTRICT COURT FORTHE
                                    DISTRICT OF NEW JERSEY

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      VERONICA GASPA, on behalf of herself and                               :
      allothers similarly situated,                                          :
                                                                             :    Case No.: 3:24-cv-7497
                                     Plaintiffs,                             :
                                                                             :
                                     v.                                      :
                                                                             :
      Toms River’s Park Avenue South, Inc.,                                  : CIVIL COMPLAINT
                                                                             :
                                    Defendant.                               :
                                                                             :
                                                                             :
            ----------------------------------



           VERONICA GASPA (hereinafter “Plaintiff”), a New Jersey resident, brings this class

complaint by and through the undersigned attorneys against Defendant Toms River’s Park Avenue

South, Inc., (hereinafter “Defendant”), for its violations of the Americans with Disabilities Act

(“ADA”), individually and on behalf of a class of all others similarly situated.


                                                INTRODUCTION


1.     This action arises from Defendant’s failure to make its digital properties accessible to legally

       blind individuals, which violates the effective communication and equal access requirements

       of Title III of the Americans with Disabilities Act (“ADA”).

2.     It is estimated that 2.5 percent of the American population lives with some sort of visual

       disability. See Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the

       American Community Survey (ACS). Ithaca, NY: Cornell University Yang-Tan Institute

       (YTI), available at https://www.disabilitystatistics.org/acs/1 (last accessed September 27,

       2023).
     Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 2 of 22 PageID: 2




3.     In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S. Department

       of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

       accommodations must make the websites they own, operate, or control equally accessible to

       individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

                  The Department [of Justice] first articulated its interpretation that the
             ADA applies to public accommodations’ websites over 20years ago. This
             interpretation is consistent with the ADA’s title III requirement that the
             goods, services, privileges, or activities provided by places of public
             accommodation be equally accessible to people with disabilities.1


4.     For this significant portion of Americans, accessing websites, mobile applications, and other

       information via their computers and smartphones has become critical, especially in the post-

       pandemic era. Since the pandemic, U.S. e-commerce has continued to grow, with 12 million

       new users choosing to shop online since 2020. 1 According to a recent study, e- commerce

       increased by 25% from $516 billion (11.1% of total retail sales) to $644 billion (14.2% of

       total retail sales).2 This underscores the importance of access to online retailers. When

       Congress enacted the ADA in 1990, it intended for the ADA to keep pace with the rapidly

       changing technology of our times. Since 1996, the Department of Justice has consistently

       taken the position that the ADA applies to web content. “For people with disabilities, website

       accessibility and other forms of accessible ICT are necessities—not luxuries or

       conveniences—that foster independence, economic self-sufficiency and active, meaningful

       participation in civic life.” Americans regularly depend upon websites, mobile applications

       and other devices as a nexus between the digital medium and the brick and mortar locations.

5.     During these challenging times, disabled individuals rely heavily on acquiring goods and

       services from the internet. With more businesses choosing to market their goods and services
     Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 3 of 22 PageID: 3




       on their online platform, access to the website is vital. Sir Tim Berners-Lee, the founder of

       the World Wide Web, wrote, “The power of WWW is in its universality. Access by everyone

       regardless of disability is an essential aspect.”

6.     The blind have an even greater need than the sighted to have access to various websites in

       order to compare merchandise, benefits and prices, to get more information about the

       companies, their locations and hours of operation. The lack of an accessible website deters

       blind people from visiting Defendant’s physical location and enjoying the unique services

       that it provides to the public.

7.     In this climate, it is especially important to consider factors that can facilitate or impede

       technology adoption and use by people with disabilities.

8.     When the digital content is not universally accessible to everyone, legally blind individuals

       must unnecessarily expend additional time and effort to overcome communication barriers

       sighted users do not confront. These barriers may require the assistance of third parties or,

       in some cases, may deny outright access to the online service.

9.     Screen access “software translates the visual internet into an auditory equivalent.

       At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick

       Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J.

       Weinstein).

                   The screen reading software uses auditory cues to allow a visually
             impaired user to effectively use WEBSITEs. For example, when using the
             visual internet, a seeing user learns that a link may be “clicked,” which will
             bring her to another webpage, through visual cues, such as a change in the color
             of the text (often text is turned from black to blue). When the sighted user's
             cursor hovers over the link, it changes from an arrow symbol to a hand.

                   The screen reading software uses auditory—rather than visual—cues to
             relay this same information. When a sight impaired individual reaches a link
  Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 4 of 22 PageID: 4




            that may be “clicked on,” the software reads the link to the user, and after
            reading the text of the link says the word “clickable.” Through a series of
            auditory cues read aloud by the screen reader, the visually impaired user can
            navigate a WEBSITE by listening and responding with her keyboard.

10.   The United States Department of Justice Civil Rights Division has provided “Guidance on

      Web Accessibility and the ADA.”5 It states in part, “the Department has consistently taken

      the position that the ADA’s requirements apply to all the goods, services, privileges, or

      activities offered by public accommodations, including those offered on the web.”

11.   Because Defendant’s website, https://parkavenuesouthboutique.com (the “Website” or

      “Defendant’s website”), is not equally accessible to blind and visually-impaired consumers,

      it violates the ADA. Plaintiff seeks a permanent injunction to cause a change in Defendant’s

      corporate policies, practices, and procedures so that Defendant’s website will become and

      remain accessible to blind and visually-impaired consumers. Defendants Website, and its

      online information, is heavily integrated with its brick and mortar locations.

12.   Accessibility is all or nothing. A website is either accessible or inaccessible. This lawsuit is

      aimed at providing legally blind users like Plaintiff a full and equal experience.


                                         NATURE OF ACTION


13.   Plaintiff brings this civil rights action, individually and on behalf of those similarly situated,

      seeking redress for Defendant’s actions which violate the ADA.

14.   Plaintiff, like approximately 2.0 million other people in the United States, is visually

      impaired and legally blind.

15.   Upon visiting Defendant’s website, https://parkavenuesouthboutique.com (hereinafter

      referred to as “Website”), Plaintiff quickly became aware of Defendant’s failure to maintain

      and operate its website in a way to make it fully accessible for herself and for other blind or
  Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 5 of 22 PageID: 5




      visually-impaired people. The access barriers make it impossible for blind and visually-

      impaired users to enjoy and learn about the services at https://parkavenuesouthboutique.com

      prior to entering Defendant’s physical location.

16.   The Internet has become a significant source of information, if not the most significant

      source, for conducting all types of necessary activities, such as banking and shopping.

17.   This is equally true for people with disabilities and those without disabilities.

18.   Fortunately, technology known as screen-reading software provides the blind and visually-

      impaired the ability to fully access websites and websites, and the information, products,

      goods and contained thereon.

19.   However, for screen-reading software to function, the information on a website must be

      capable of being rendered into text. If the website content is not capable of being rendered

      into text, the blind or visually-impaired user is unable to access the same content available

      to sighted users.

20.   The international website standards organization known throughout the world as W3C, has

      published guidelines that should be followed to ensure website accessibility. The most recent

      version, version 2.2, is referred to as the Web Content Accessibility Guidelines (“WCAG

      2.2”).

21.   Defendant’s denial of full and equal access to its website, and therefore denial of its goods

      and the ability to frequent the physical locations and other services offered thereby, is a

      violation of Plaintiff’s rights under the Americans with Disabilities Act (“ADA”).

22.   Plaintiff seeks a permanent injunction to cause a change in Defendant’s corporate policies,

      practices, and procedures so that Defendant’s website will become and remain accessible to

      blind and visually-impaired consumers.
  Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 6 of 22 PageID: 6




                                   JURISDICTION AND VENUE


23.   Plaintiff is a New Jersey resident, and the cause of action arose in New Jersey. As such, this

      Court has jurisdiction and venue over this action pursuant to R. 4:3-2


                                               PARTIES



24.   Plaintiff VERONICA GASPA is, and at all times relevant hereto has been, a resident of

      Monmouth County, New Jersey.

25.   Plaintiff is a blind, visually-impaired person and is therefore a member of a protected class

      under the ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth

      at 28 CFR §§ 36.101et seq.

26.   Plaintiff uses Windows operating system-enabled computer along with screen-reading

      software program Job Access With Speech, otherwise known as “JAWS”, which is currently

      one of the most popular screen-reading software programs available for blind users.

27.   Defendant Toms River’s Park Avenue South, Inc., is and was, at all relevant times herein, a

      New Jersey Limited Liability Company with its principal place of business located at 1608

      NJ-37, Toms River, NJ 08753. Defendant operates the Parkavenuesouthboutique.com

      website, retail store and advertises, markets, and operates in the State of New Jersey and

      throughout the United States.

28.   Defendant,     Toms      River’s     Park     Avenue      South,     Inc.,    operates    the

      Parkavenuesouthboutique.com online retail store across the United States. This online retail

      store constitutes a place of public accommodation. Defendant’s Website provides consumers

      with access to an array of goods including information about purchasing dresses, shoes and

      handbags which Defendant offers in connection with their physical location and other
  Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 7 of 22 PageID: 7




      products available online and to ascertain information including but not limited to pricing,

      shipping, ordering merchandise, store hours and directions, returns and more, on their

      website.

29.   Consumers may purchase Defendant’s products and access other content and services at

      https://parkavenuesouthboutique.com (“WEBSITE”), the WEBSITE Defendant owns,

      operates, and controls. The goods and services offered by Defendant's Website include: prom

      dresses, bridal gowns, evening dresses, cocktail dresses and more for any occasion. Also,

      consumers across the United States use Defendant’s website to find the information about

      the boutique location and hours of operation, as well as information about the goods,

      services, hours of operation and direction to its physical location.

30.   In addition to researching and purchasing Defendant’s products and services from the

      comfort and convenience of their homes, consumers may also use Defendant’s website to

      contact customer service by phone and email, sign up to receive product updates, product

      news, and special promotions, review important legal notices like Defendant’s Privacy

      Policy, and more.

31.   Defendant’s website allows consumers to research and participate in Defendant’s services

      and products from the comfort and convenience of their own homes.

32.   Consumers may use the website to connect with Defendant on social media, using sites like

      Facebook and Instagram.

33.   Customers may find information about boutique location and hours of operation, public

      transportation availability, as well as other information about the services in its physical

      location.

34.   Defendant’s online retail store is a place of public accommodation within the definition of
  Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 8 of 22 PageID: 8




      Title III of the ADA, 42 U.S.C. § 12181(7).2 Defendant’s Website is a service, privilege, or

      advantage of Defendant’s online retail stores.

35.   Defendant is responsible for the policies, practices, and procedures concerning the

      WEBSITE’s development and maintenance.


                                     STATEMЕNT OF FACTS


36.   Defendant offers the commercial website, Parkavenuesouthboutique.com, to the public. The

      Website offers features which should allow all consumers to access the goods and services

      offered by Defendant and which Defendant ensures delivery of such goods and services

      throughout the United States including New Jersey State. This website forms a nexus

      between online services and the Defendants’ brick and mortar place of public

      accommodation.

37.   Defendant’s Website offers products and services for online sale and general delivery to the

      public. The Website offers features which ought to allow users to browse for items, access

      navigation bar descriptions, inquire about pricing, and avail consumers of the ability to

      peruse the numerous items offered for sale.

38.   During Plaintiff’s visits to the Website, on April 4, 2024 she made an attempt to purchase a

      dress from Defendant. She was searching online for a local dress store in New Jersey,

      looking for an elegant and fashionable dress for an upcoming party she was invited to.

      During her search, she came across the website Parkavenuesouthboutique.com, which

      offered a wide range of dresses for different occasions. However, she encountered

      navigational difficulties while trying to review the company's products. These issues

      prevented her from effectively browsing and purchasing products, as well as finding contact
  Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 9 of 22 PageID: 9




      details for customer support. Plaintiff acquired actual knowledge of and encountered

      multiple access barriers that denied Plaintiff a shopping experience similar to that of a

      sighted person and full and equal access to the goods and services offered to the public and

      made available to the public; and that denied Plaintiff the full enjoyment of the goods, and

      services of the Website by being unable to purchase a dress and other products available

      online and to ascertain information relating to pricing, shipping, ordering merchandise and

      return and privacy policies on their website. Plaintiff has also been deprived of the

      opportunity to enjoy the facilities, goods and services of Defendant’s brick and mortar

      locations, as a result of accessibility barriers on Parkavenuesouthboutique.com. Plaintiff

      lives close to the physical location and would visit more regularly if the website was

      accessible and the barriers were removed.

39.   Due to Defendant’s failure to build the Website in a manner that is compatible with screen

      access programs, Plaintiff was unable to understand and properly interact with the Website

      and was thus denied the benefit of purchasing a dress, that Plaintiff wished to acquire from

      the Website. Plaintiff intends to frequent Defendant’s physical location at 1608 NJ-37, Toms

      River, NJ 08753 once the accessibility barriers are removed.

40.   The Website contains access barriers that prevent free and full use by the Plaintiff using

      keyboards and screen-reading software. These barriers include but are not limited to:

      inaccurate heading hierarchy, hidden elements on the web page, inadequate focus order,

      ambiguous link texts, changing of content without advance warning, unclear labels for

      interactive elements, inaccurate alt-text on graphics, the lack of adequate labeling of form

      fields, and the requirement that transactions be performed solely with a mouse.

41.   Among other accessibility issues encountered by Plaintiff when visiting the Defendant`s
Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 10 of 22 PageID: 10




   website are the following:

        a) Heading hierarchy was not properly defined, and there were missing heading levels. As a

            result, quick navigation through headings on the website did not help Plaintiff effectively

            find the content of interest and understand the logical structure of the home page;

        b) The heading failed to describe sections of the content and did not help users orient themselves

            within the web page and find specific information. Descriptive headings help assistive

            technology users by ensuring that they are meaningful when read out of context and help

            understand the relationships between different parts of the content;

        c) Several links had ambiguous texts that were unclear to Plaintiff. Lack of detailed description

            of the link target and destination page made it difficult for Plaintiff to perceive their purpose;

        d) Plaintiff encountered interactive images that were used as links that did not describe the

            content of the link target. There were no details what kind of information can be found on

            the destination page;

        e) Plaintiff encountered hidden elements the content of which was not announced by the screen

            reader. Plaintiff tabbed through interactive elements but due to the fact that they were not

            voiced by the assistive technology, Plaintiff was unaware what elements were skipped;

        f) The Carousel region from the website did not comply with necessary accessibility standards.

            Thus, Plaintiff could not control the moving content on the home page;

        g) Non-interactive elements were marked up as keyboard focusable elements (tabindex=“0”

            was applied), and Plaintiff could not determine the purpose of the elements, since they were

            not actually interactive (did not have appropriate “role” attribute). Furthermore, tabbing

            through the additional focusable elements required extra effort and time from Plaintiff to find

            the content of interest on the website;

        h) Plaintiff tried to follow the links from the website and received no prior warning that the

            links opened new windows. As a result, Plaintiff unsuccessfully tried to use the “Back”

            function of the browser to go to the previous page and became disoriented;
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 11 of 22 PageID: 11



            i)   The Category page was reloaded after Plaintiff tried to filter items on it and the keyboard

                 focus moved to the top of the page. As a result, Plaintiff was confused by the change of

                 context;

            j)   Different images of the same product had similar and poorly descriptive alternative text.

                 Plaintiff could not learn more detailed information about the product and its features;

            k) Interactive elements were not programmatically associated with their <label> elements.

                 Plaintiff did not understand the purpose of the interactive element on the page as its name

                 was not announced;

            l)   Interactive elements that behaved as "buttons" were not programmatically written correctly.

                 Instead of using a "role" attribute, they were built by tag such as <a>. As a result, the screen

                 reader software read the incorrectly constructed element and Plaintiff was confused, because

                 of receiving ambiguous information about the element in focus;

            m) In an attempt to add the selected item to cart, Plaintiff encountered a warning message that

                 was not announced by the screen reader software. Plaintiff was not informed about any

                 incorrect actions on the stage of choosing product`s parameters;

            n) After adding the selected item to the Cart, it did not announce its value information. Thus,

                 Plaintiff did not know whether the product selection was successful and how many items

                 were placed to the Cart;

            o) Plaintiff was unable to determine if the form fields were mandatory (“Required”). The lack

                 of detailed instructions while filling in the form, prevented Plaintiff from successfully

                 submission of personal information.

42.   These barriers, and others, deny Plaintiff full and equal access to all of the services the website

      offers, and now deter her from attempting to use the website to buy Defendant’s goods and

      services. Still, Plaintiff intends to attempt to access the website in the future to purchase the

      products and services the website offers and/or to test the website for compliance with the
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 12 of 22 PageID: 12




      ADA.

43.   If the website was accessible, i.e. if Defendant removed the access barriers, Plaintiff could

      independently research and purchase Defendant’s products and access its other online content

      and services.

44.   The law requires that Defendant reasonably accommodate Plaintiff’s disabilities by removing

      these existing access barriers. Removal of the barriers identified above is readily achievable

      and may be carried out without much difficulty or expense.

45.   Plaintiff has been, and in the absence of an injunction will continue to be, injured by

      Defendant’s failure to provide its online content and services in a manner that is compatible

      with screen-reader technology.

46.   The Plaintiff intends to immediately revisit the Website and to frequent the physical location

      to purchase a dress or similar alternative of a dress from the Defendant as soon as the access

      barriers are removed from the Website. Plaintiff also intends to visit the Defendant`s boutique

      to learn more information about the goods and services in its physical location.


                             Defendant Must Remove Barriers To Its Website



47.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired customers

      such as Plaintiff, who need screen-readers, cannot fully and equally use or enjoy the goods,

      and services Defendant offers to the public on its Website. The access barriers Plaintiff

      encountered have caused a denial of Plaintiff’s full and equal access in the past, and now deter

      Plaintiff on a regular basis from accessing the Website.

48.   These access barriers on Defendant’s Website have deterred Plaintiff from visiting
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 13 of 22 PageID: 13




      Defendant’s Website and enjoying it equal to sighted individuals because: Plaintiff was

      unable to use and enjoy the Website in the same manner as sighted individuals do, preventing

      Plaintiff from using the Website.

49.   Through her attempts to use the Website, Plaintiff has actual knowledge of the access barriers

      that make these services inaccessible and independently unusable by blind and visually-

      impaired persons.

50.   Because simple compliance with the WCAG 2.2 Guidelines would provide Plaintiff and other

      visually-impaired consumers with equal access to the Website, Plaintiff alleges that

      Defendant has engaged in acts of intentional discrimination, including but not limited to the

      following policies or practices:

a.    Constructing and maintaining a website that is inaccessible to visually-impaired individuals,

      including Plaintiff;

b.    Failure to construct and maintain a website that is not sufficiently intuitive so as to be equally

      accessible to visually-impaired individuals, including Plaintiff; and,

c.    Failing to take actions to correct these access barriers in the face of substantial harm and

      discrimination to blind and visually-impaired consumers, such as Plaintiff, as a member of

      a protected class.

51.   Defendant therefore uses standards, criteria or methods of administration that have the effect

      of discriminating or perpetuating the discrimination of others, as alleged herein.

52.   The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this action. In

      relevant part, the ADA requires:

                   In the case of violations of . . . this title, injunctive relief shall include an order
      to alter facilities to make such facilities readily accessible to and usable by individuals with
      disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 14 of 22 PageID: 14




      modification of a policy . . .

                  42 U.S.C. § 12188(a)(2).

53.   Because Defendant’s Website is not and has never been fully accessible, and because, upon

      information and belief, Defendant does not have, and has never had, adequate corporate

      policies that are reasonably calculated to cause its Website to become and remain accessible,

      Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seek a permanent injunction requiring

      Defendant to:

               a)     Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
            Consultant”) who shall assist in improving the accessibility of its Website,
            including all third-party content and plug-ins, so the goods and services on the
            Website may be equally accessed and enjoyed by visually-impaired persons;

               b)    Work with the Web Accessibility Consultant to ensure all employees
            involved in Website and content development be given web accessibility training
            on a biennial basis, including onsite training to create accessible content at the
            design and development stages;

               c)      Work with the Web Accessibility Consultant to perform an automated
            accessibility audit on a periodic basis to evaluate whether Defendant’s Website
            may be equally accessed and enjoyed by visually-impaired persons on an ongoing
            basis;

               d)       Work with the Web Accessibility Consultant to perform end-user
            accessibility/usability testing on at least a quarterly basis with said testing to be
            performed by humans who are blind or have low vision, or who have training and
            experience in the manner in which persons who are blind use a screen reader to
            navigate, browse, and conduct business on websites, in addition to the testing, if
            applicable, that is performed using semi-automated tools;

              e)      Incorporate all of the Web Accessibility Consultant’s recommendations
            within sixty (60) days of receiving the recommendations;

               f)     Work with the Web Accessibility Consultant to create a Web
            Accessibility Policy that will be posted on its Website, along with an e-mail
            address, instant messenger, and toll-free phone number to report accessibility-
            related problems;

               g)     Directly link from the footer on each page of its Website, a statement
            that indicates that Defendant is making efforts to maintain and increase the
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 15 of 22 PageID: 15




           accessibility of its Website to ensure that visually-impaired persons have full and
           equal enjoyment of the goods, services, facilities, privileges, advantages, and
           accommodations of the Defendant’s Website;

             h)      Accompany the public policy statement with an accessible means of
           submittingaccessibility questions and problems, including an accessible form to
           submit feedback or an email address to contact representatives knowledgeable
           about the Web Accessibility Policy;

              i)    Provide a notice, prominently and directly linked from the footer on each
           page of its Website, soliciting feedback from visitors to the Website on how the
           accessibility of the Website can be improved. The link shall provide a method to
           provide feedback, including an accessible form to submit feedback or an email
           address to contact representatives knowledgeable about the Web Accessibility
           Policy;

              j)     Provide a copy of the Web Accessibility Policy to all web content
           personnel, contractors responsible for web content, and Client Service Operations
           call center agents (“CSO Personnel”) for the Website;

              k)     Train no fewer than three of its CSO Personnel to automatically escalate
           calls from users with disabilities who encounter difficulties using the Website.
           Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
           such users with disabilities within CSO published hours of operation. Defendant
           shall establish procedures for promptly directing requests for assistance to such
           personnel including notifying the public that customer assistance is available to
           users with disabilities and describing the process to obtain that assistance;

              l)     Modify existing bug fix policies, practices, and procedures to include the
           elimination of bugs that cause the Website to be inaccessible to users of screen
           reader technology; and

              m)      Plaintiff, her counsel, and their experts monitor the Website for up to
           two years after the Mutually Agreed Upon Consultant validates the Website are
           free of accessibility errors/violations to ensure Defendant has adopted and
           implemented adequate accessibility policies. To this end, Plaintiff, through her
           counsel and their experts, shall be entitled to consult with the Web Accessibility
           Consultant at their discretion, and to review any written material, including but not
           limited to any recommendations the Website Accessibility Consultant provides
           Defendant.

54.   If the Website was accessible, Plaintiff and similarly situated blind and visually-impaired

      persons could independently shop for and otherwise research the Defendant’s products via

      the Website.
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 16 of 22 PageID: 16




55.   Although Defendant may currently have centralized policies regarding maintaining and

      operating its Website, Defendant lacks a plan and policy reasonably calculated to make them

      fully and equally accessible to, and independently usable by, blind and other visually-

      impaired consumers.

56.   Defendant has, upon information and belief, invested substantial sums in developing and

      maintaining their Website and has generated significant revenue from the Website. These

      amounts are far greater than the associated cost of making their Website equally accessible to

      visually-impaired consumers.

57.   Without injunctive relief, Plaintiff and other visually-impaired consumers will continue to be

      unable to independently use the Website, violating their rights.


                                  CLASS ACTION ALLEGATIONS

58.   Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a nationwide

      class defined as follows:

          All legally blind individuals in the United States who have attempted to access
          Defendant’s Website and as a result have been denied access to the equal
          enjoyment of goods and services during the relevant statutory period.

59.   Common questions of law and fact exist amongst Class, including:


           a.    Whether Defendant’s Website are a “public accommodation” under the

                 ADA;

           b.    Whether Defendant’s Website denies the full and equal enjoyment of its

                 products, services, facilities, privileges, advantages, or accommodations to

                 people with visual disabilities, violating the ADA; and

           c.    Whether Defendant’s Website denies the full and equal enjoyment of its
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 17 of 22 PageID: 17




                  products, services, facilities, privileges, advantages, or accommodations

                  to people with visual disabilities.

60.   Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are severely

      visually impaired or otherwise blind, and claim that Defendant has violated the ADA by

      failing to update or remove access barriers on its Website so either can be independently

      accessible to the Class.

61.   Plaintiff will fairly and adequately represent and protect the interests of the Class Members

      because Plaintiff has retained and is represented by counsel competent and experienced in

      complex class action litigation, and because Plaintiff has no interests antagonistic to the Class

      Members. Class certification of the claims is appropriate because Defendant has acted or

      refused to act on grounds generally applicable to the Class, making appropriate both

      declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

62.   Alternatively, class certification is appropriate because fact and legal questions common to

      Class Members predominate over questions affecting only individual Class Members, and

      because a class action is superior to other available methods for the fair and efficient

      adjudication of this litigation.

63.   Judicial economy will be served by maintaining this lawsuit as a class action in that it is likely

      to avoid the burden that would be otherwise placed upon the judicial system by the filing of

      numerous similar suits by people with visual disabilities throughout the United States.
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 18 of 22 PageID: 18



                                         FIRST CAUSE OF ACTION

                        VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.


64.   Plaintiff, on behalf of herself and the Class Members, repeats and realleges every allegation

      of the preceding paragraphs as if fully set forth herein.

65.   Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

      No individual shall be discriminated against on the basis of disability in the full and equal
      enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
      any place of public accommodation by any person who owns,leases (or leases to), or operates
      a place of public accommodation.

      42 S.C. § 12182(a).

66.   Defendant’s online retail store is a place of public accommodation within the definition of

      Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a service, privilege, or

      advantage of Defendant’s online retail store and a nexus to Defendant’s Physical Locations.

67.   The Physical locations, owned and operated by Defendant are public accommodations

      within the definition of Title III of the ADA, 42 U.S.C. Section 12181(7…).

68.   The Website bears a direct nexus to the Physical Locations, and as such, must be equally

      accessible to all potential consumers.

69.   By failing to make the Website equally accessible to all potential consumers (including

      members of the general public that are visually impaired), Defendant has prevented Plaintiff

      from availing herself of the goods and services that Defendant offers at the Physical

      Location.

70.   Had Plaintiff been able to access the content, services and information offered on the

      Website, Plaintiff would have availed herself for the goods and services that Defendants

      offers at the Physical Location.
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 19 of 22 PageID: 19




71.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

      individuals with disabilities the opportunity to participate in or benefit from the goods,

      services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

      12182(b)(1)(A)(i).

72.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

      individuals with disabilities an opportunity to participate in or benefit from the goods,

      services, facilities, privileges, advantages, or accommodation, which is equal to the

      opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

73.   Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

      among other things:

          [A] failure to make reasonable modifications in policies, practices, or procedures, when
      such modifications are necessary to afford such goods, services, facilities, privileges,
      advantages, or accommodations to individuals with disabilities, unless the entity can
      demonstrate that making such modifications would fundamentally alter the nature of such
      goods, services, facilities, privileges, advantages or accommodations; and a failure to take
      such steps as may be necessary to ensure that no individual with a disability is excluded,
      denied services, segregated or otherwise treated differently than other individuals because
      of the absence of auxiliary aids and services, unless the entity can demonstrate that
      taking such steps would fundamentally alter the nature of the good, service, facility,
      privilege,advantage, or accommodation being offered or would result in an undue burden.

         42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

74.   The acts alleged herein constitute violations of Title III of the ADA, and the regulations

      promulgated thereunder. Plaintiff, who is a member of a protected class of persons under the

      ADA, has a physical disability that substantially limits the major life activity of sight within

      the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been denied full

      and equal access to the Website, has not been provided services that are provided to other

      patrons who are not disabled, and has been provided services that are inferior to the services

      provided to non-disabled persons. Defendant has failed to take any prompt and equitable steps
 Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 20 of 22 PageID: 20




      to remedy its discriminatory conduct. These violations are ongoing.

75.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

      therein, Plaintiff, requests relief as set forth below.




                                   SECOND CAUSE OF ACTION

76.   Plaintiff, on behalf of herself and the Class Members, repeats and realleges every allegation

      of the preceding paragraphs as if fully set forth herein.

77.   An actual controversy has arisen and now exists between the parties in that Plaintiff contends,

      and is informed and believes that Defendant denies, that its Website contains access barriers

      denying blind customers the full and equal access to the products, services and facilities of its

      Website, which Defendant owns, operations and controls, fails to comply with applicable laws

      including, but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §

      12182, et seq., prohibiting discrimination against the blind.

78.   These violations are ongoing and Plaintiff seeks to ensure through declaratory and injunctive

      relief that the Defendant utilizes proper corrective measures in the future to alleviate said

      violations.

79.   Plaintiff’s claim for declaratory relief and injunctive relief serves a distinct purpose from the

      retrospective relief which Plaintiff seeks based on the claims alleged in Plaintiff's First Cause

      of Action.

80.   A judicial declaration is necessary and appropriate at this time in order that each of the parties

      may know their respective rights and duties and act accordingly.
Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 21 of 22 PageID: 21




                                     PRAYER FOR RELIEF


   WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

         a.   A preliminary and permanent injunction to prohibit Defendant from violating the

              Americans with Disabilities Act, 42 U.S.C. § 12182, et seq.;

         b.   A preliminary and permanent injunction requiring Defendant to take all the steps

              necessary to make its Website into full compliance with the requirements set forth

              in the ADA, and its implementing regulations, so that the Website is readily

              accessible to and usable by blind individuals;

         c.   A declaration that Defendant owns, maintains and/or operates its Website in a

              manner that discriminates against the blind and which fails to provide access for

              persons with disabilities as required by the Americans with Disabilities Act, 42

              U.S.C. § 12182, et seq.

         d.   An order certifying the Class, appointing Plaintiff as Class Representative, and

              her attorneys as Class Counsel;

         e.   Pre- and post-judgment interest;

         f.   An award of costs and expenses of this action together with reasonable attorneys’

              and expert fees; and

         g.   Such other and further relief as this Court deems just and proper.
Case 3:24-cv-07497-MAS-TJB Document 1 Filed 07/02/24 Page 22 of 22 PageID: 22




    July 2, 2024                            /s/ Uri Horowitz
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